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  16
                                UNITED STATES DISTRICT COURT
  17
                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  18
  19 BARBARA SELDIN, an individual,             No.        '17CV2183 AJB MDD
     on his own behalf and on behalf of
  20 all others similarly situated,             CLASS ACTION COMPLAINT
                                                FOR
  21                            Plaintiff,
                                                (1) VIOLATIONS OF THE
  22                    v.                          CONSUMER LEGAL
                                                    REMEDIES ACT (Civ. Code, §§
  23 HSN, INC., INGENIOUS                           1750 to 1784);
       DESIGNS, L.L.C., and JOY
  24 MANGANO,                                   (2) VIOLATIONS OF THE
                                                    UNFAIR COMPETITION LAW
  25                            Defendants.         (Bus. & Prof. Code, §§ 17200-
                                                    17203); AND
  26
                                                (3) VIOLATIONS OF THE FALSE
  27                                                ADVERTISING LAW (Bus. &
                                                    Prof. Code, §§ 17500).
  28
       Class Action Complaint
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   1                           CLASS ACTION COMPLAINT
   2           Plaintiff, BARBARA SELDIN, an individual consumer, on behalf of herself
   3 and others similarly situated, sues Defendants, HSN, INC., INGENIOUS
   4 DESIGNS, L.L.C. and JOY MANGANO, for violations of the California
   5 Consumer Legal Remedies Act, the Unfair Competition Law and Violations of the
   6 False Advertising Law and alleges as follows:
   7
                                PARTIES, JURISDICTION & VENUE
   8
               1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §
   9
       1332 (federal diversity jurisdiction), as one or more members of the proposed class
  10
       are residents of a different state from Defendants and the aggregated amount in
  11
       controversy likely exceeds the jurisdictional amount required by that code section
  12
       ($5,000,000).
  13
               2.      At all times material, Plaintiff is and was a resident of the State of
  14
       California, residing in San Diego, San Diego County, California. Plaintiff
  15
       purchased the My Little Steamer product at issue in this action at a Bed, Bath &
  16
       Beyond store located in San Diego County, California in the Mission Valley
  17
       Shopping Center
  18
               3.      Venue is appropriate in this District because Plaintiff is a resident of
  19
       the District, and Defendants has sold their goods within the Central District of
  20
       California.
  21
               4.      HSN, Inc., ("HSN") is a foreign corporation, incorporated under the
  22
       laws of Delaware, with its principal place of business located in St. Petersburg,
  23
       Florida. HSN is a retailer of consumer products it markets, sells and distributes
  24
       through the HSN television network, the HSN digital shopping portal and other
  25
       digital platforms, including mobile.
  26
               5.      Ingenious Designs, LLC., ("Ingenious Designs") is a wholly owned
  27
       subsidiary of the Home Shopping Network and foreign limited liability company,
  28
       Class Action Complaint                        2
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   1 under the jurisdiction and laws of Delaware. Ingenious Designs' principal place of
   2 business is located in Ronkonkoma, New York. Ingenious Designs manufactures,
   3 sells and distributes consumer products, including the My Little Steamer and the
   4 My Little Steamer Mini through HSN's television network and digital platforms as
   5 well as retailers such as Target and Bed, Bath and Beyond.
   6           6.      Joy Mangano, ("Ms. Mangano"), is resident of the State of New York.
   7 Ms. Managano is President of Ingenious Designs, LLC, appears regularly on the
   8 HSN shopping networks to promote and sell products manufactured by Ingenious
   9 Designs. Ms. Mangano is also an HSN Executive.
  10           7.      This Court has personal jurisdiction over Defendants because
  11 Defendants extensively advertise their products to California residents through
  12 their television and digital platforms and because Defendants purposely avail
  13 themselves of distribution chains likely to lead to the sale of their products to
  14 California residents. Upon information and belief, Defendants products, including
  15 the My Little Steamer and My Little Steamer Mini are ultimately sold to millions
  16 of California residents.
  17           8.      Defendants' extensive business, marketing, advertising and
  18 distribution engagements with California residents constitute purposeful availment
  19 of this forum sufficient to subject Defendants to suit in this forum. Because of
  20 Defendants' significant contacts with the forum, assertion of jurisdiction to remedy
  21 Defendants' conduct does not offend traditional notions of fair play and substantial
  22 justice.
  23                                 NATURE OF THE CASE
  24           9.      This class action lawsuit seeks redress for Defendants’ manufacturing,
  25 sale and distribution of a dangerous product. The My Little Steamer and My Little
  26 Steamer Mini (the “My Little Steamer Products” or “Steamers”) are portable
  27 clothing steamers which due to manufacturing and/or design defects cause boiling
  28 water to leak and/or spew on product users and melt the products’ plastic housing.
       Class Action Complaint                      3
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   1 Despite Defendants’ knowledge of these defects and dangerous conditions,
   2 Defendants failed to warn consumers of the danger and marketed, sold and
   3 distributed these products throughout the State of California. This lawsuit seeks
   4 damages and injunctive relief on behalf of Plaintiff and members of the class for
   5 purchasing a product that it not safe, merchantable or fit for its intended purpose
   6 and attorneys' fees and other costs associated with bringing this action.
   7                                FACTUAL ALLEGATIONS
   8           10.     In 2003 Defendants released the My Little Steamer Products to the
   9 market for the first time. Since that time the Products have been promoted,
  10 marketed, sold and distributed through the HSN television network as well as the
  11 digital platforms, outlet stores and other retailers.
  12           11.     In order to promote the Steamers on the HSN network HSN has, at
  13 various times, created video “B-roll” to be used in connection with live segments
  14 that feature Joy Mangano promoting and selling the Products. These videos are
  15 produced and filmed internally by HSN employees and depict professional models
  16 using the Products.
  17           12.     In or before February 2016 Defendants became aware that My Little
  18 Steamer Products they were promoting, marketing selling and distributing were
  19 defective and dangerous. More specifically, in February of that year HSN was
  20 producing and filming B-roll of the My Little Streamer Products at a house in the
  21 Hyde Park neighborhood in Tampa, Florida to be used in an upcoming live
  22 segment featuring Joy Mangano.
  23           13.     While the Products were being prepared for filming and during the
  24 filming itself, hot steam and boiling water repeatedly leaked and spewed from the
  25 products burning HSN employees and the professional models being featured in
  26 the videos. The production staff opened a significant number of Products from
  27 sealed boxes that had been delivered to the video location in an effort to find a
  28 Product to film that would not leak. Many, if not all, of the Products opened by
       Class Action Complaint                     4
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   1 HSN’s production employees leaked boiling water and spewed hot steam.
   2           14.     Production employees and models observed gaskets failing and
   3 floating inside the water reservoir of the opened products very quickly after the
   4 Products were plugged into electrical outlets.
   5           15.     Video footage of the malfunctioning products was shot digitally by
   6 the production crew, and as is required by HSN policies and procedures was saved
   7 on the HSN server and labeled, “the B Roll.” This footage was backed-up to the
   8 HSN digital archive/ library.
   9           16.     The Producer on the shoot, David Berggren, was so concerned that he
  10 notified senior management at HSN and Ingenious Designs, including immediate
  11 family members of Joy Mangano, that the products were leaking, spewing and
  12 were dangerous and should not be sold to consumers.
  13           17.     The Quality Control Department advised Mr. Berggren the faulty
  14 Steamers that leaked during the B-Roll location shoot were sent to Ingenious
  15 Design, LLC in New York for testing. Additional concerns were communicated to
  16 notify Ms. Mangano. Mr. Berggren was led to believe that My Little Steamer
  17 Products would not be sold due to their defective conditions.
  18           18.     Within a matter of weeks thereafter, and contrary to the assurances
  19 given Mr. Berggren, HSN did live promotional television segments featuring Joy
  20 Mangano selling the My Little Steamer products.
  21           19.     While the live segments were ongoing, additional My Little Steamers
  22 that were new and had just been opened from their boxes to be used in the live
  23 segment were leaking and spewing off-camera, once again causing burns to models
  24 and staff.
  25           20.     The volume of faulty My Little Steamer Products sold and shipped as
  26 a result of the live promotional segment described above is estimated to be
  27 between 50,000 and 100,000 units. These numbers do not include defective
  28 Steamers that were sold through other distribution channels and platforms.
       Class Action Complaint                      5
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   1           21.     According to the Ingenous Design, LLC Instruction and Warning
   2 pamphlet, “This product is warranted to be free from defects in material and
   3 workmanship under normal uses and service for a period of one-year from the date
   4 of original purchase with receipt.”
   5           22.     Through Ms. Mangano’s website, JoyMangano.com, promotes the
   6 Steamers as follows: “Developed over 15 years, carefully calibrated steam
   7 channels create unmatched power.” “No Spitting. No Staining. No Burning. No
   8 Worries.”
   9           23.     In September 2016, Plaintiff purchased a My Little Steamer from her
  10 local Bed, Bath and Beyond retailer in California. Plaintiff paid approximately
  11 $15.00 for the Steamer. Very shortly thereafter Plaintiff’s Steamer began to leak
  12 and spew hot water and steam whenever she plugged the unit into an electrical
  13 outlet. On each occasion the steamer leaked and spewed boiling water and steam
  14 Plaintiff was using the unit properly.
  15       CLASS ACTION AND CLASS REPRESENTATION ALLEGATIONS
  16           24.     The causes of action alleged below, for declaratory and injunctive
  17 relief and for monetary damages, are appropriate for class action treatment and
  18 class certification pursuant to the governing and applicable rules of civil procedure,
  19 including Federal Rules of Civil Procedure 23(b)(1)(a), 23(b)(2), 23(b)(3) and
  20 23(c)(4).
  21           25.     This action is uniquely appropriate as a class action because Plaintiff
  22 seeks declaratory and injunctive relief for the entire Class arising out of actions
  23 undertaken by Defendants or failures to act, on grounds generally applicable to the
  24 Class as a whole. The entitlement of Plaintiffs and the Class to this relief will turn
  25 on application of existing, unambiguous statutory language to the Defendants
  26 business practices and Steamer product as described more fully herein.
  27           26.     The monetary relief sought by Plaintiff and the class turns on readily
  28 identifiable and objectively determinable facts and standards derivable from data
       Class Action Complaint                       6
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   1 and documents maintained by or on behalf of Defendants and/or the Class.
   2           27.     This action is also appropriate for class certification under Rule
   3 23(b)(3) because the questions of law and fact common to the Plaintiff and the
   4 Class far more than predominate over issues affecting individual members of the
   5 Class, and resolution of these issues within a class action is the superior and
   6 manageable method to achieve fair and efficient adjudication of this controversy.
   7           28.     Plaintiff is a member of the Class described in paragraph 30 below,
   8 and properly alleges this claim on her own behalf, and on behalf of the Class who
   9 are similarly situated, against the Defendants.
  10           29.     The members of the Class are readily identifiable from documents
  11 maintained by or on behalf of the Defendants and/or Class Members, thus
  12 permitting any appropriate notice to the Class and convenient case management by
  13 the Court.
  14           30.     Plaintiff brings this action on behalf of her and all others similarly
  15 situated as representative of the following class (the “Class”):
  16                   All California residents who purchased a My Little
                       Steamer or My Little Steamer Mini from the period of
  17                   February 28, 2016 through the present.
  18
               31.     Excluded from the Class are Defendants as well as all employees of
  19
       this Court, including, but not limited to, Judges, Magistrate Judges, clerks and
  20
       court staff and personnel of the United States District Courts of the Central
  21
       District of California, the United States Court of Appeals for the Ninth Circuit and
  22
       the United States Supreme Court; their spouses and any minor children living in
  23
       their households and other persons within a third degree of relationship to any such
  24
       Federal Judge; and finally, the entire jury venire called to for jury service in
  25
       relation to this lawsuit.
  26
               32.     Also excluded from the Class are any attorneys or other employees of
  27
       any law firms hired, retained and/or appointed by or on behalf of the named
  28
       Class Action Complaint                       7
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   1 Plaintiff to represent the named Plaintiff and any/or any proposed class members
   2 or proposed class in this lawsuit
   3           33.     Also excluded from the Class are any persons who have sustained
   4 physical injury as a result of the defects at issue in this litigation. Furthermore, to
   5 the extent that undersigned counsel has any legal interest to damages or other
   6 monetary relief, or other relief due to the putative class (or any other rights as
   7 potential putative class members), arising as a result of the causes of action
   8 asserted in this litigation, such interest is hereby disclaimed by undersigned
   9 counsel.
  10           34.     Plaintiff reserves the right to revise the definition of the Class based
  11 on facts learned during discovery.
  12           35.     The exact number of persons in the Class, as herein identified and
  13 described, is unknown but is estimated to number in the thousands. The Class is so
  14 numerous that joinder of individual members herein is impracticable.
  15           36.     Plaintiff will fairly and adequately represent and protect the interests
  16 of the other members of each Class. Plaintiff has retained counsel with substantial
  17 experience in prosecuting complex litigation and class actions. Plaintiff and her
  18 counsel are committed to vigorously prosecuting this action on behalf of the
  19 members of the Class, and have the financial resources to do so. Neither Plaintiff
  20 nor her counsel has any interest adverse to those of the other members of the Class.
  21           37.     Absent a class action, most members of the Class would find the cost
  22 of litigating their claims to be prohibitive, and will have no effective remedy. The
  23 class treatment of common questions of law and fact is also superior to multiple
  24 individual actions or piecemeal litigation in that it conserves the resources of the
  25 courts and the litigants, and promotes consistency and efficiency of adjudication.
  26           38.     Defendants have acted and failed to act on grounds generally
  27 applicable to the Plaintiff and the other members of the Class in falsely advertising
  28 that the Product will work safely, requiring the Court’s imposition of uniform relief
       Class Action Complaint                        8
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   1 to ensure compatible standards of conduct toward members of the Class.
   2           39.     The factual and legal basis of Defendants’ liability to Plaintiff and to
   3 the other members of the Class are the same, resulting in injury to the Plaintiff and
   4 to all of the other members of the Class as a result of the Defendants’ conduct
   5 alleged herein. Plaintiff and members of the Class have all suffered harm and
   6 damages as a result of Defendants’ unlawful and wrongful conduct.
   7           40.     There are many questions of law and fact common to the claims of
   8 Plaintiff and the other members of the Class, and those questions predominate over
   9 any questions that may affect individual members of the Class. Common questions
  10 for the Class include but are not limited to the following:
  11           (a)     Whether Defendants breached their express warranties with Plaintiff
  12                   and class members;
  13           (b)     Whether Defendants’ advertising is unlawful, unfair, deceptive, or
  14                   misleading to reasonable consumers under the UCL;
  15           (c)     Whether Defendants’ conduct violates the Cal. Bus. & Profs. Code
  16                   §17200, the Cal. Civil Code §1750, and the Cal. Civil Code 17500;
  17           (d)     Whether the My Little Steamer Products were safe for their intended
  18                   purposes;
  19           (e)     Whether a reasonable consumer would expect that the My Little
  20                   Steamer Products would be dangerous and would leak;
  21           (f)     Whether, as a result of Defendants’ conduct, Plaintiff and the class
  22                   members are entitled to equitable relief and/or other relief, and, if so,
  23                   the nature of such relief; and
  24           (g)     The method of calculation and extent of damages for Plaintiff and
  25                   members of the Class.
  26
  27
  28
       Class Action Complaint                        9
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                                             FIRST CLAIM:
    1                     Violations of the Consumers Legal Remedies Act,
                               California Civil Code Section 1750, et seq.,
    2
                41.     Plaintiff hereby incorporates by reference the allegations contained in
    3
        all preceding paragraphs of this complaint. Plaintiff asserts this claim on behalf of
    4
        herself and the Class Members.
    5
                42.     The California Consumer Legal Remedies Act, Section 1750 of the
    6
        California Civil Code, protects consumers against fraud, unlawful practices, and
    7
        unconscionable commercial practices in connection with sale of any merchandise.
    8
                43.     Plaintiff and members of the Class are “consumers” as defined by
    9
        Civil Code Section 1761(d) because they sought or acquired Defendants’ goods for
   10
        personal, family, or household purposes.
   11
                44.     The My Little Steamer Products are “goods” within the meaning of
   12
        Civil Code Section 1761(a) as they are tangible chattels bought for personal,
   13
        family, or household purposes.
   14
                45.     Defendants’ conduct of selling the My Little Steamer Products which
   15
        were not fit for their intended purpose and were not sold as advertised violated and
   16
        continues to violate the Consumer Legal Remedies Act by engaging in the
   17
        following prohibited practices: “[r]epresenting that goods or services have . . .
   18
        characteristics . . . [or] uses . . . which they do not have” (Civ. Code, § 1770, subd.
   19
        (a)(5)); “[a]dvertising goods or services with intent not to sell them as advertised”
   20
        (Civ. Code, § 1770, subd. (a)(9)); and “[r]epresenting that the subject of a
   21
        transaction has been supplied in accordance with a previous representation when it
   22
        has not” (Civ. Code, § 1770, subd. (a)(16)).
   23
                46.     Plaintiff and other members of the Class reasonably relied upon and
   24
        were deceived by Defendant’s representations about the benefits of My Little
   25
        Steamer products and the omissions of statements about the product’s dangers and
   26
        defects which were known to Defendant.
   27
                47.     Pursuant to section 1782(d) of the California Civil Code, Plaintiff, on
   28
        Class Action Complaint                      10
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    1 behalf of herself and the Class seeks a Court order enjoining Defendants from such
    2 future conduct and any other such orders that may be necessary to rectify the
    3 fraudulent, unlawful, unconscionable commercial practices, and fraudulent
    4 business practices of Defendants, including requiring Defendants to cease
    5 marketing and selling My Little Steamer Products until they work as advertised
    6 and are no longer a danger to consumers.
    7                                SECOND CLAIM:
         Violations of California Business & Professions Code, Section 17200, et seq.,
    8           Unlawful, Unfair and Fraudulent Business Acts and Practices
    9        48. Plaintiff hereby incorporates by reference the allegations contained in
   10 all preceding paragraphs of this complaint. Plaintiff asserts this claim on behalf of
   11 herself and the Class Members.
   12           49.     Defendants’ acts and practices as detailed herein constitute acts of
   13 unfair competition. Defendants have engaged in unlawful, unfair or fraudulent
   14 business acts and/or practices within the meaning of California Business &
   15 Professions Code, section 17200, et seq. Defendants need only violate one of the
   16 three prongs to be held strictly liable.
   17           50.     Defendants have engaged in “unlawful” business acts and practices by
   18 selling products which are unfit for their intended and advertised use and have not
   19 disclosed the dangers of the products. Defendants’ business acts and practices
   20 violate California’s Business and Professions Code Section 17500, et seq. and the
   21 California Consumer Legal Remedies Act, California Civil Code, Section 1750, et
   22 seq., as alleged herein.
   23           51.     Plaintiff reserves the right to identify additional provisions of the law
   24 violated by Defendants as further investigation and discovery warrants.
   25           52.     Defendants’ failure to comply with the above statutes constitutes an
   26 unlawful business act or practice.
   27           53.     Section 17200 of the California Business & Professional Code also
   28 prohibits any “unfair business act or practice.”
        Class Action Complaint                       11
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    1           54.     As described above, Defendants have engaged in “unfair” business
    2 acts or practices in that they falsely advertised My Little Steamer Products.
    3           55.     The gravity of the harm to Plaintiff and the Class outweighs any
    4 arguable utility of Defendants’ conduct. Plaintiff’s injury is substantial, is not
    5 outweighed by any countervailing benefit to consumers or competition, and is not
    6 one that consumers could have reasonably avoided.
    7           56.     Defendants’ conduct offends California public policy tethered to the
    8 California Consumer Legal Remedies Act and the California False Advertising
    9 Law, and which are intended to preserve fair competition, to protect consumers
   10 from market distortions, and to allow consumers to make informed choices in their
   11 purchasing products.
   12           57.     Defendants’ actions are immoral, unethical, unscrupulous, and offend
   13 established public policy, and have injured Plaintiff and other members of the
   14 Class.
   15           58.     Section 17200 also prohibits any “fraudulent business act or practice.”
   16 Defendants’ conduct constituted “fraudulent” business acts or practices in that their
   17 conduct had a tendency and likelihood to deceive persons to whom such conduct
   18 was and is targeted by falsely representing the price of plastic bags.
   19           59.     Plaintiff and members of the Class were deceived by Defendants’
   20 representations about My Little Steamer Products’ uses and safety.
   21           60.     Plaintiff and members of the Class reasonably relied on Defendants’
   22 omission about the dangers of the My Little Steamer Products and with reasonable
   23 reliance that the product would perform safely and consistent with its intended use
   24 and any representations on the Steamer’s packaging, in its packaging, on television
   25 and website advertising.
   26           61.     Plaintiff and members of the Class have suffered injuries as a direct
   27 and proximate result of the unlawful, unfair, and fraudulent business practices of
   28 Defendants in that they were overcharged for products purchased, products which
        Class Action Complaint                      12
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    1 they would not have purchased had they been told the truth by Defendants.
    2           62.     Pursuant to section 17203 of the California Business and Professions
    3 Code, Plaintiff, on her own behalf and on behalf of the Class, seeks restitution and
    4 a Court order enjoining Defendants from such future conduct and any other such
    5 orders that may be necessary to rectify the unlawful, unfair, and fraudulent
    6 business practices of Defendants, including requiring Defendants to cease selling
    7 My Little Steamer Products unless or until the products work as advertised and are
    8 not unsafe for normal use.
    9           63.     Plaintiff brings this action as a private attorney general, and to
   10 vindicate and enforce an important right affecting the public interest. Plaintiff and
   11 the Class are therefore entitled to an award of attorneys’ fees under Code of Civil
   12 Procedure section 1021.5 for bringing this action.
   13                                   THIRD CLAIM:
                            Violations of the False Advertising Law,
   14           California Business and Professions Code, Sections 17500, et seq.,
   15           64. Plaintiff hereby incorporates by reference the allegations contained in
   16 all preceding paragraphs of this complaint. Plaintiff asserts this claim on behalf of
   17 herself and the Class Members.
   18           65.     The California False Advertising Law, Business and Professions Code
   19 sections 17500, et seq., prohibits the dissemination of statements that are untrue,
   20 misleading, and which are known, or which by the exercise of reasonable care
   21 should be known, to be untrue or misleading.
   22           66.     Defendants’ acts and practices violated Section 17500 of the
   23 California False Advertising Law. Defendants disseminated untrue and misleading
   24 statements to Plaintiff and Class Members about the My Little Steamer Products.
   25           67.     Defendants’ statements were untrue and misleading in material
   26 respects because Plaintiff and the Class Members relied on Defendants’ statements
   27 which informed Plaintiff and Class Members’ purchasing decisions.
   28           68.     Defendants’ statements had the capacity, likelihood and tendency to
        Class Action Complaint                       13
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    1 deceive and confuse consumers into believing that the My Little Steamer Products
    2 were safe for their intended and advertised purpose, when in fact they were not.
    3           69.     Defendants knew or should have known with the exercise of
    4 reasonable care that consumers would rely on representations and omissions of fact
    5 about the My Little Steamer Products.
    6           70.     Plaintiff and members of the Class were induced to purchase the My
    7 Little Steamer Products based on Defendants’ untrue and misleading statements, as
    8 well as omission of statements about the dangers of the products.
    9           71.     Plaintiff and members of the Class were aware of and reasonably
   10 relied on Defendants’ untrue and misleading statements.
   11           72.     Defendants disseminated untrue and misleading statements about the
   12 My Little Steamer Products with the intent not to sell them as the advertised price.
   13           73.     Pursuant to section 17535 of the California Business and Professions
   14 Code, Plaintiff, on behalf of herself and the Class seeks restitution and a Court
   15 order enjoining Defendants from such future conduct and any other such orders as
   16 may be necessary to rectify Defendants’ false advertising, including requiring
   17 Defendants to cease the false advertising of the My Little Steamer Products.
   18           74.     Plaintiff brings this action as a private attorney general, and to
   19 vindicate and enforce an important right affecting the public interest. Plaintiff and
   20 the Class are therefore entitled to an award of attorneys’ fees under Code of Civil
   21 Procedure section 1021.5 for bringing this action.
   22           WHEREFORE, Plaintiff Barbara Seldin prays that the Court enter judgment
   23 and orders in her favor against Defendants, and as follows:
   24           a.      An order certifying the Class, directing that this case proceed as a
                        class action, and appointing Plaintiff and her counsel to represent the
   25                   Class;
   26           b.      An award for restitution and other equitable relief, including
                        imposition of a constructive trust under the UCL;
   27
                c.      Injunctive relief enjoining further unlawful conduct under the UCL,
   28                   FAL and CLRA;
        Class Action Complaint                       14
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    1           d.      An order granting costs and attorneys’ fees under Civil Code section
                        1770(e) and Code of Civil Procedure section 1021.5; and
    2
                e.      Such other and further relief as this Court may deem appropriate.
    3
    4
        Dated: October 25, 2017                         By: /s/David C. Parisi
    5                                                        David C. Parisi
    6                                                   Christa L. Collins
                                                        Florida Bar No: 0381829
    7                                                   service.clc@harmonwoodslaw.com;
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   20
                                                        Attorneys for Plaintiff Barbara Seldin,
   21                                                   on her own behalf, and behalf of all
                                                        others similarly situated
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        Class Action Complaint                     15
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    1                               JURY TRIAL DEMAND
    2        Plaintiff hereby demands a trial by jury of all issues so triable.
    3
        Dated: October 25, 2017                      By: /s/David C. Parisi
    4                                                     David C. Parisi
    5                                                Christa L. Collins
                                                     Florida Bar No: 0381829
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                                                     Attorneys for Plaintiff Barbara Seldin,
   20                                                on her own behalf, and behalf of all
                                                     others similarly situated
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Case 3:17-cv-02183-AJB-MDD Document 1 Filed 10/25/17 PageID.17 Page 17 of 17




    1                               DECLARATION OF DAVID C. PARISI
    2            I, David C. Parisi, hereby declare on oath as follows:
    3            1.          I am an attorney licensed to practice law in the state of California. I
    4 am over the age of 18 years and I have personal knowledge of the matters attested
    5 to herein. If called upon to testify, I would and could competently do so.
    6            2.          I make this declaration pursuant to California Civil Code section
    7 1780(d) on behalf of my client, Plaintiff Barbara Seldin, on behalf of herself and
    8 all others similarly situated.
    9        3.     The transactions or any substantial portion of the transactions alleged
   10
        in this complaint occurred in San Diego County, California.
   11
                 I declare under penalty of perjury under the laws of the State of California
   12
        that the foregoing is true and correct.
   13
                 Dated this 25th day of October 2017 at Port Hadlock, Washington.
   14
   15
                                                        __/s/David C. Parisi_________________
   16                                                      David C. Parisi
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        Parisi Declaration
